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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


UNITED STATES OF AMERICA
                                              CRIMINAL ACTION
v.
                                              NO. 1:13-cr-045-JEC """'l
ROBERT DALE PENLAND


     REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY1

       The defendant, Robert Dale Penland ("defendant"), by consent, has appeared

before the undersigned United States Magistrate Judge and has entered a plea of

guilty to Count One of the Indictment.         After cautioning and examining the

defendant under oath concerning each of the subjects mentioned in Rule 11, I have

determined that the guilty plea was knowing and voluntary, and thatthe plea to the

offense charged is supported by an independentbasis in fact establishing each of the

essential elements of the offense. I have also determined that, to the maximum

extent permitted by federal law, the defendant has voluntarily and expressly waived

his right to appeal the conviction and sentence and the right to collaterally attack his

sentence in any post-conviction proceedings, including by motion filed pursuant to

28 USc. § 2255, on any ground, except that the defendant may file a direct appeal


       IFailure to file written objections to this Report and Recommendation within
FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation
shall bar an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.s.c. § 636(b)(1)(B).
.....   -.          Case 1:13-cr-00045-AT-JSA Document 202 Filed 08/30/13 Page 2 of 2




             of an upward departure or a variance from the sentencing guideline range as

             calculated by the district court, and if the Government appeals the sentence

             imposed, the defendant may also file a cross-appeal of that same sentence. It is,

             therefore, RECOMMENDED that the plea of guilty be accepted and that the

             defendant be adjudged guilty and have sentence imposed accordingly.

                   IT IS SO RECOMMENDED this 30th day of August, 2013.



                                                  RUSSELL G. VINEYAR
                                                  UNHED STATES MAGISTRATE JUDGE




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